
64 So.3d 205 (2011)
DAZET MORTGAGE SOLUTIONS LLC, Chou Cou LLC, RC Holding LLC, Lillylyd LLC, Wabash Properties LLC, Belfast Properties, LLC, Denada Investments LLC, Riverbend LLC, LMMB LLC, Ng Investments LLC, Riverbend Capital LLC, Allstar RV Rentals LLC, and Michael Dazet
v.
Gregory G. FAIA, Faia &amp; Associates, LLC, and Security Title of Louisiana.
No. 2011-CC-1193.
Supreme Court of Louisiana.
June 22, 2011.
Stay denied; writ denied.
